                   IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           STATESVILLE DIVISION
                    CRIMINAL DOCKET NO.: 5:98CR66-13-V

UNITED STATES OF AMERICA        )
                                )
           vs.                  )                     ORDER
                                )
JEREMY GRANT LAMBERT,           )
           Defendant.           )
________________________________)

      THIS MATTER comes before the Court on Defendant’s Motion For Early

Termination Of Supervised Release, filed April 1, 2005. The Government has advised the

Court that it opposes Defendant’s motion based upon Defendant’s conduct while awaiting

designation to the Bureau of Prisons, namely, positive drug screens. Notwithstanding any

violations prior to Defendant’s incarceration, Defendant’s record since is exemplary. For

the reasons stated in the Defendant’s motion, the Court finds that early termination of

supervised release is appropriate in this case.

      IT IS, THEREFORE, ORDERED that the Defendant’s motion is hereby GRANTED.

Accordingly, the Defendant’s supervised release term is hereby TERMINATED, effective

immediately.

      IT IS FURTHER ORDERED that the Clerk of Court mail a copy of this Order to the

United States Attorney’s Office, Defense Counsel, United States Probation, and the United

States Marshal.




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                         Signed: June 28, 2005




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